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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                8:06CR376
       vs.                                      )
                                                )                  ORDER
CHRISTINA ZAVODNY,                              )
                                                )
                     Defendant.                 )


        This matter is before the court on defendant’s motion for additional time to file
pretrial motions [33]. For good cause shown, and upon the representation that opposing
counsel has no objection, the court finds that an extension to December 20, 2006 should
be granted.

       IT IS ORDERED that the motion [33] is granted, as follows:

        1. The deadline for filing pretrial motions is extended to December 20, 2006 as
to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h), I find that the ends of justice will be
served by granting defendant's request and outweigh the best interest of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between December 11, 2006 and December 20, 2006, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act, 18 U.S.C. § 3161 because failure to grant a continuance would deny counsel for
the defendant or the attorney for the Government the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
3161(h)(8)(A) & (B)(iv).

       3. Defendant shall file a waiver of speedy trial pursuant to NECrimR 12.1 as soon
as is practicable.

       DATED December 12, 2006.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
